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10
                           UNITED STATES DISTRICT COURT

11
                         CENTRAL DISTRICT OF CALIFORNIA

12   CREATIVE PHOTOGRAPHERS INC.,                    Case No.:
13   a New York Corporation,
                                                        PLAINTIFF’S COMPLAINT FOR
14                                                      COPYRIGHT INFRINGEMENT
     Plaintiff,
15
     v.                                                 Jury Trial Demanded
16

17   PENSKE MEDIA CORPORATION dba
     HOLLYWOODLIFE.COM, a Delaware
18
     corporation; and DOES 1 through 10,
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     Defendants.
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21
            CREATIVE PHOTOGRAPHERS INC., by and through its undersigned
22
     attorneys, hereby prays to this honorable Court for relief based on the following:
23
                               JURISDICTION AND VENUE
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            1. This action arises under the Copyright Act of 1976, Title 17 U.S.C., § 101 et
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     seq.
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                                            COMPLAINT
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 1         2. This Court has federal question jurisdiction under 28 U.S.C. § 1331 and 1338
 2   (a) and (b).
 3         3. Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and 1400(a)
 4   in that this is the judicial district in which a substantial part of the acts and omissions
 5   giving rise to the claims occurred.
 6                                          PARTIES
 7         4. Plaintiff CREATIVE PHOTOGRAPHERS INC. (“CPI”) is a New York
 8   Corporation, with its primary place of business located at 444 Park Ave S., Ste 502,
 9   New York, New York, 10016. CPI is a premier photographic syndication company
10   that provides images of models and celebrities created by internationally renowned
11   photographers to communication and media business. CPI exclusively administers
12   the infringed copyright rights at issue in this action.
13         5. Plaintiff is informed and believes and thereon alleges that Defendant
14   PENSKE MEDIA CORPORATION dba HOLLYWOODLIFE.COM (“PMC”) is a
15   Delaware corporation with its primary place of business located at 11175 Santa
16   Monica Blvd, Los Angeles, California 90025 and is the owner of the website at
17   https://hollywoodlife.com/.
18         6. Plaintiff is informed and believes and thereon alleges that Defendants
19   DOES 1 through 10, inclusive, are other parties not yet identified who have infringed
20   Plaintiff’s copyrights, have contributed to the infringement of Plaintiff’s copyrights,
21   or have engaged in one or more of the wrongful practices alleged herein. The true
22   names, whether corporate, individual or otherwise, of Defendants 1 through 10,
23   inclusive, are presently unknown to Plaintiff, which therefore sues said Defendants
24   by such fictitious names, and will seek leave to amend this Complaint to show their
25   true names and capacities when same have been ascertained.
26         7. Plaintiff is informed and believes and thereon alleges that at all times
27   relevant hereto each of the Defendants was the agent, affiliate, officer, director,
28                                               2
                                             COMPLAINT
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 1   manager, principal, alter-ego, and/or employee of the remaining Defendants and was
 2   at all times acting within the scope of such agency, affiliation, alter-ego relationship
 3   and/or employment; and actively participated in or subsequently ratified and/or
 4   adopted each of the acts or conduct alleged, with full knowledge of all the facts and
 5   circumstances, including, but not limited to, full knowledge of each violation of
 6   Plaintiff’s rights and the damages to Plaintiff proximately caused thereby.
 7        CLAIMS RELATED TO SUBJECT PHOTOGRAPHS 1 THROUGH 3
 8         8. Vijat Mohindra (“MOHINDRA”), an individual residing in New York,
 9   New York, is a renowned advertising, celebrity, and editorial photographer whose
10   clients have included Complex and Paper Magazine.
11         9. MOHINDRA owns the original photographs of Miley Cyrus shown below
12   which were registered with the United States Copyright Office on April 23, 2018
13   under Registration Number VA 2-103-091:
14                                   Subject Photograph 1
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                                            COMPLAINT
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 1                                  Subject Photograph 2
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12                                  Subject Photograph 3
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25        10. For all times relevant to his action, MOHINDRA has appointed Plaintiff
26   CPI as her exclusive administrator and publisher of all copyright rights in and to
27   Subject Photographs 1 through 3 (collectively, the “Subject Photographs”). As such,
28                                             4
                                           COMPLAINT
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 1   CPI is entitled to institute and maintain this action for copyright infringement. 17
 2   U.S.C §501(b).
 3        11. Plaintiff is informed and believes and thereon alleges that following its
 4   publication and display of the Subject Photographs, PMC, DOE Defendants, and
 5   each of them used the Subject Photographs without Plaintiff’s authorization for
 6   commercial purposes in various ways, including, but not limited to, the use on
 7   websites such as https://hollywoodlife.com.
 8        12. Screen captures of said uses are set forth hereinbelow:
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                                           COMPLAINT
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 8                              FIRST CLAIM FOR RELIEF
 9             (For Copyright Infringement - Against All Defendants, and Each)
10         13. Plaintiff repeats, realleges and incorporates herein by reference as though
11   fully set forth the allegations contained in the preceding paragraphs of this
12   Complaint.
13         14. Plaintiff is informed and believes and thereon alleges that Defendants, and
14   each of them, had access to the Subject Photographs, including, without limitation,
15   through Plaintiff’s website and social media accounts or viewing the Subject
16   Photograph on third-party websites (e.g., Tumblr, Pinterest, etc.).
17         15. Plaintiff is informed and believes and thereon alleges that Defendants, and
18   each of them, used and distributed images of the Subject Photographs, and exploited
19   said images in multiple website posts without Plaintiff’s authorization or consent.
20         16. Due to Defendants’, and each of their, acts of infringement, Plaintiff has
21   suffered damages in an amount to be established at trial.
22         17. Due to Defendants’, and each of their, acts of copyright infringement as
23   alleged herein, Defendants, and each of them, have obtained profits they would not
24   otherwise have realized but for their infringement of the Subject Photographs. As
25   such, Plaintiff is entitled to disgorgement of Defendants’, and each of their, profits
26   attributable to the infringement of the Subject Photographs in an amount to be
27   established at trial.
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                                            COMPLAINT
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 1         18. Plaintiff is informed and believes and thereon alleges that Defendants, and
 2   each of them, have committed copyright infringement with actual or constructive
 3   knowledge of Plaintiff’s rights such that said acts of copyright infringement were,
 4   and continue to be, willful, intentional and malicious.
 5                                 PRAYER FOR RELIEF
 6         Wherefore, Plaintiff prays for judgment as follows:
 7            a. That Defendants—each of them—and their respective agents and
 8               servants be enjoined from importing, manufacturing, distributing,
 9               offering for sale, selling or otherwise trafficking in any product that
10               infringes Plaintiff’s copyrights in the Subject Photographs;
11            b. That Plaintiff be awarded all profits of Defendants, and each of them,
12               plus all losses of Plaintiff, the exact sum to be proven at the time of trial,
13               or, if elected before final judgment, statutory damages as available under
14               the Copyright Act, 17 U.S.C. § 101 et seq.;
15            c. That Plaintiff be awarded its attorneys’ fees as available under the
16               Copyright Act U.S.C. § 101 et seq.;
17            d. That Plaintiff be awarded pre-judgment interest as allowed by law;
18            e. That Plaintiff be awarded the costs of this action; and
19            f. That Plaintiff be awarded such further legal and equitable relief as the
20               Court deems proper.
21         Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
22   38 and the 7th Amendment to the United States Constitution.
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     Dated: October 16, 2019                DONIGER/BURROUGHS
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                                            By:       /s/ Stephen M. Doniger
                                                      Stephen M. Doniger, Esq.
26                                                    Frank Gregory Casella, Esq.
27
                                                      Attorneys for Plaintiff

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                                            COMPLAINT
